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+;B?;< J>; WECFB7?DJX  7D: IK; J>; 78EL; 97FJ?ED;: ;<;D:7DJI  H;IF;9J<KBBO

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,J7J;IEDIJ?JKJ?ED ->?IEKHJ>7I@KH?I:?9J?EDEL;H*B7?DJ?<<ZI9B7?CFKHIK7DJJE

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GK7B?<?97J?EDI<EHLEJ?D=?DJ>;,J7J;E<!;EH=?7 *B7?DJ?<<LEJ;:?DF;HIED:KH?D=J>;

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8;97KI;>;>7IIK<<;H;:7D79JK7BEH?CC?D;DJ?D@KHO?D<79J ->;?D@KHO?IJH79;78B;

JEJ>;9>7BB;D=;:79J?EDE<J>;;<;D:7DJI *B7?DJ?<<ZI?D@KH?;IMEKB:8;H;:H;II;:




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H;IFEDI?8?B?JO JE ;D<EH9; 7D: 7:C?D?IJ;H ;B;9J?ED B7MI  ?D9BK:?D= ,J7J; B7MI

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W'7DD;HXJ>7J:?<<;HI<HEC7D:9ED<B?9JIM?J>J>;;B;9J?EDI9>;C;;IJ78B?I>;:8O

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     E7J>M?J>J>;?D<EHC7J?EDED<?B;?D>?IEH>;HE<<?9; (!!9ECF7H;J>;
     I?=D7JKH; EH C7A; ED J>; E7J> M?J> J>; I?=D7JKH; EH C7HA ED J>;
     78I;DJ;;;B;9JEHILEJ;H97H:EHJ>;CEIJH;9;DJKF:7J;JEIK9>78I;DJ;;
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     <79I?C?B; E< I7?: I?=D7JKH; EH C7A;H J7A;D <HEC I7?: 97H: EH
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    ->;!;EH=?7&;=?IB7JKH;7BIE;IJ78B?I>;:79B;7H7D:;<<?9?;DJFHE9;IIJE8;

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     ) -/",$.#)(79EFOE<M>?9>DEJ?<?97J?ED-"&&8;H;J7?D;:?DJ>;
     <?B;IE<J>;8E7H:E<H;=?IJH7HIEH78I;DJ;;87BBEJ9B;HA<EH7JB;7IJED;
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9EDJ;CFB7J;: J>; KI; E< MH?JJ;D DEJ?<?97J?ED 8O J>; 9EKDJO H;=?IJH7H EH 9B;HA ?D

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L;H?<O?D= LEJ;H ?:;DJ?JO <EH 78I;DJ;; C7?B ?D 87BBEJI <EH J>; ;B;9J?EDI <EH ;:;H7B

E<<?9;?D!;EH=?7 ?D9BK:?D=J>;HKDE<< 

    #DEH78EKJ'7H9>  ;<;D:7DJI ,;9H;J7HO+7<<;DIF;H=;H 7D:J>;,J7J;

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:C?D?IJH7JEHI ;DJ;H;: ?DJE 7 ECFHEC?I; 7D: ,;JJB;C;DJ =H;;C;DJ 7D:

+;B;7I;J>;&?J?=7J?ED,;JJB;C;DJE<B?J?=7J?EDJ>;;CE9H7J?9*7HJOE<!;EH=?7 

#D9  J>; ;CE9H7J ,;D7JEH?7B 7CF7?=D ECC?JJ;;  7D: J>; ;CE9H7J?9

ED=H;II?ED7B7CF7?=DECC?JJ;;J>;;CE9H7J=;D9?;I?D?J?7J;:7=7?DIJ 

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?IJH?9JEKHJ<EHJ>;(EHJ>;HD?IJH?9JE<!;EH=?7 JB7DJ7?L?I?ED E9   

     BJ>EK=>J>;,),?I7KJ>EH?P;:JEFHECKB=7J;HKB;I7D:H;=KB7J?EDIJ>7J7H;

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*7HJ?9KB7HBO &?J?=7J?ED,;JJB;C;DJFHEL?:;IJ>7JJ>;,;9H;J7HOE<,J7J;MEKB:?IIK;

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8;BEM  ?I CEH; 9KC8;HIEC;  7D: 9ED<B?9JI M?J> J>; B;=?IB7J?L; <H7C;MEHA M?J>

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        IK9> ;B;9JEHI LEJ;H H;=?IJH7J?ED H;9EH: ?D ;(;J 7D: J>; ;B;9JEHI
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*B7?DJ?<<  :?<<;H;DJ <HEC C7?B ?D 78I;DJ;; LEJ;HI  *KHIK7DJ JE )  !   R  

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MH?J;79HEIIJ>;<79;E<J>;;DL;BEF;W+;@;9J;:X=?L?D=J>;H;7IEDJ>;H;<EH; X,;;

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&;=?IB7J?L;<H7C;MEHA<EH<;:;H7B;B;9J?EDI 

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87BBEJI  7D: I97D J>; 78I;DJ;; 87BBEJI KI?D= ED; EH CEH; 87BBEJ I97DD;HI  ?D

799EH:7D9;M?J>J>?I+KB; 7D:C7O9EDJ?DK;KDJ?B7BB799;FJ;:78I;DJ;;87BBEJI7H;

FHE9;II;: X;CF>7I?I7::;: ->?I;C;H=;D9OHKB;M7I;D79J;:<EHJ>;$KD;  

;B;9J?ED 8KJM7IJ>;D;NJ;D:;:EDEH78EKJK=KIJ   <EHKI;?DJ>;!;D;H7B

B;9J?ED ->;H;7<J;H EDB;IIJ>7D >EKHDEJ?9;7D:M?J>DEJ?C;<EHC;7D?D=<KB

FK8B?99ECC;DJ J>;;<;D:7DJI7C;D:;:J>;HKB;JE7BBEM78I;DJ;;87BBEJIJE8;

EF;D;:;L;D;7HB?;H J>H;;M;;AI8;<EH;J>;;B;9J?ED ->?IHKB;?I?D;<<;9J7D:?I

7BH;7:O8;?D=?CFB;C;DJ;:<EHJ>;$7DK7HO  I;D7JEH?7BHKDE<<;B;9J?ED 

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&;=?IB7JKH;;IJ78B?I>;:?JIFKHFEI;<EHFH;L;DJ?D=;7HBOEF;D?D=?DJ>;IJ7JKJ;UJE

WFH;L;DJJ7CF;H?D=7D:KD7KJ>EH?P;:799;II X->;!;EH=?7B;9J?EDE:;;NFH;IIBO

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;<;D:7DJIZ +KB; ;NFH;IIBO 7BBEMI J>; EF;D?D= E< 78I;DJ;; 87BBEJI J>H;; M;;AI

8;<EH;;B;9J?ED:7O ->;E:;7D:J>;+KB;7H;?D9EDI?IJ;DJ7D:CKJK7BBO;N9BKI?L; 

->;+KB;CKIJ8;:;9B7H;:?DL7B?:7D:IJH?9A;D7D: EHJ>;;<;D:7DJI>EKB:8;?D

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    B;9JEHIM?BB8;7:L;HI;BO7<<;9J;:?<C7?B;:?D87BBEJI7H;EF;D;:?D7:L7D9;

E<;B;9J?ED:7O #DJ>;(EL;C8;H   ;B;9J?ED C7DOLEJ;HIM;DJJEJ>;FEBBI?D

;7HBOLEJ?D=7D:ED;B;9J?ED:7O7D:M;H;JEB:J>;O>7:7BH;7:OLEJ;:U7<H7K:KB;DJ

C7?B ?D87BBEJ>7:8;;D97IJ?DJ>;?HD7C; ,;;";7H?D=IE<J>;B;9J?ED&7M,JK:O

,K89ECC?JJ;; E< J>; ,J7D:?D=,;D7J;$K:?9?7HO ECC?JJ;;  ;9;C8;H     

7L7?B78B;                                                                              7J

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J>7JFE?DJ J>;<H7K:KB;DJLEJ;I97IJ?DJ>;?HD7C;M;H;7BH;7:O?D9BK:;:?DJ>;FEEB

E<EF;D;:87BBEJI KD78B;JE8;I;=H;=7J;:7D:J>;L7B?:;B;9JEHM7I:;FH?L;:E<>?I

EH>;HH?=>JJELEJ; ->?IM7I?D9EDI?IJ;DJM?J>J>;FHE9;:KH;IC7D:7J;:8OJ>;

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7H;:;I?=D;:JEFHEJ;9J!;EH=?7DI<HECJ>;KD?L;HI7BBO79ADEMB;:=;::7D=;HIE<

87BBEJ >7HL;IJ?D= J>HEK=> M?:;IFH;7: C7?B ?D 78I;DJ;; LEJ?D=  M>?9> 97HH?;I 7

I?=D?<?97DJH?IAE<;B;9J?ED?HH;=KB7H?J?;I7D:LEJ;<H7K: 

     ,F;9?<?97BBO C7?B ?D78I;DJ;;LEJ?D=9H;7J;IEFFEHJKD?J?;IJEE8I9KH;J>;JHK;

?:;DJ?J?;IE<F;HIEDI<H7K:KB;DJBO9B7?C?D=JE8;B;=?J?C7J;;B;9JEHI7D:<79?B?J7J;I

J>; 9EBB;9J?ED E< B7H=; GK7DJ?J?;I E< FKHFEHJ;:BO L7B?: 78I;DJ;; 87BBEJI 8O J>?H:

F7HJ?;IU 9ECCEDBO 97BB;: 87BBEJ >7HL;IJ?D= U J>7J H;IKBJI ?D 7D ;NJH7EH:?D7HO


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?D9BK:?D=C7DOJ>7J7H;DEJH;9;?L;:7D:L;H?<?;:?D799EH:7D9;M?J>J>;FHE9;:KH;

H;GK?H;:8O7FFB?978B;!;EH=?7IJ7JKJ;I #D<79J J>;!;EH=?7&;=?IB7JKH;I;J<EHJ>

J>;L;HOIF;9?<?99?H9KCIJ7D9;I<EHH;JKHD?D=7D78I;DJ;;87BBEJ 7D:EDBO7KJ>EH?P;I

J>EI; JE 8; H;JKHD;: 8O 97H;=?L;HI EH 9BEI; <7C?BO C;C8;HI   )  !   R 

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     #D9EDJH7L;DJ?EDE<J>;B;9J?EDE:; ;<;D:7DJI,),7D:J>;,7:EFJ;:

+KB;          7KJ>EH?P?D=J>;KI;E<:HEF8EN;I?DEH:;HJEFHEL?:; 7IJ>;

HKB; IJ7J;I  7 C;7DI <EH 78I;DJ;; 8O C7?B ;B;9JEHI JE :;B?L;H J>;?H 87BBEJI JE J>;

9EKDJOH;=?IJH7HI 

     OJ>?IHKB; ;<;D:7DJ,F;HC?JJ;:7D:;D9EKH7=;:J>;?DIJ7BB7J?ED7D:

KI;E<KD7JJ;D:;::HEF8EN;IM?J>?D!;EH=?7I9EKDJ?;I7I7C;7DI<EH:;B?L;HOE<

78I;DJ;;87BBEJI ->;H;?IDEC;9>7D?ICJE;DIKH;J>7J7F;HIEDM>EKI;I7:HEF

8ENC;;JIJ>;H;GK?H;C;DJIE<J>;B;9J?EDE:; 

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7D78I;DJ;;87BBEJJ>;;B;9JEHI>7BBJ>;DF;HIED7BBOC7?BEHF;HIED7BBO:;B?L;HJ>;

I7C;JEJ>;8E7H:E<H;=?IJH7HIEH78I;DJ;;87BBEJ9B;HA    

     )  !  R  7;IJ78B?I>;IJ>;FH;9?I;BE97J?EDIM>;H;7D;B;9J?ED

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EH<7C?BOC;C8;H ->;I;I?J;I7H;:;<?D;:7I7::?J?ED7BH;=?IJH7HIE<<?9;IEHFB79;I

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         DOEJ>;HFHEL?I?EDIE<J>?I9>7FJ;HJEJ>;9EDJH7HODEJM?J>IJ7D:?D= 
         J>; 8E7H: E< H;=?IJH7HI C7O ;IJ78B?I> 7::?J?ED7B I?J;I 7I 7::?J?ED7B
         H;=?IJH7HIE<<?9;IEHFB79;IE<H;=?IJH7J?ED<EHJ>;FKHFEI;E<H;9;?L?D=
         78I;DJ;;87BBEJIKD:;HE:;,;9J?ED  7D:<EHJ>;FKHFEI;E<
         LEJ?D=78I;DJ;;87BBEJIKD:;HE:;,;9J?ED   FHEL?:;:J>7J7DO
         IK9>I?J;?I78H7D9>E<J>;9EKDJO9EKHJ>EKI; 79EKHJ>EKI;7DD;N 7
         =EL;HDC;DJ I;HL?9; 9;DJ;H FHEL?:?D= =;D;H7B =EL;HDC;DJ I;HL?9;I 
         7DEJ>;H =EL;HDC;DJ 8K?B:?D= =;D;H7BBO 799;II?8B; JE J>; FK8B?9  EH 7
         BE97J?EDJ>7J?IKI;:7I7D;B;9J?ED:7OFEBB?D=FB79; DEJM?J>IJ7D:?D=
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    KBJED  ;%7B8  !M?DD;JJ  7D: E88 9EKDJ?;I  J>; <EBBEM?D= I?J;I MEKB:

7KJEC7J?97BBOI;HL;7I7::?J?ED7BH;9;?L?D=BE97J?EDI<EH78I;DJ;;87BBEJI

        7DO8H7D9>E<J>;9EKDJO9EKHJ>EKI;EH9EKHJ>EKI;7DD;N;IJ78B?I>;:
        M?J>?D 7DO IK9> 9EKDJO I>7BB 8; 7D 7::?J?ED7B H;=?IJH7HI EH 78I;DJ;;
        87BBEJ9B;HAIE<<?9;EHFB79;E<H;=?IJH7J?ED<EHJ>;FKHFEI;E<H;9;?L?D=
        78I;DJ;;87BBEJI   KD:;HE:;,;9J?ED   
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:;I9H?8;:?DJ>;;N;H9?I;?D)  !  R  77D:87D:?IDEJM?J>?DJ>;

C;7D?D=E<7H;=?IJH7HIE<<?9;EHFB79;IE<H;=?IJH7J?ED?D)  !  R   

     H;=?IJH7HIE<<?9;EHFB79;IE<H;=?IJH7J?ED9EDJ;CFB7J;I78K?B:?D=M?J>

IJ7<<97F78B;E<H;9;?L?D=78I;DJ;;87BBEJI7D:L;H?<O?D=J>;I?=D7JKH;7IH;GK?H;:

8OJ>;FHE9;:KH;IFH;I9H?8;:?DR   

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78I;DJ;;87BBEJJEJ>;8E7H:E<H;=?IJH7HIEH78I;DJ;;87BBEJ9B;HA 7IFH;I9H?8;:8O

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     *KHIK7DJ JE )  !   R      EDBO J>; 78I;DJ;; 87BBEJ 9B;HA 97D

F;H<EHCJ>;<KD9J?EDIEH:KJ?;IFH;I9H?8;:?DJ>;B;9J?EDE:; ->;78I;DJ;;87BBEJ

9B;HAC7O8;J>;9EKDJOH;=?IJH7HEH7DOEJ>;H:;I?=D7J;:E<<?9?7BM>EI>7BBF;H<EHC

J>;:KJ?;II;J<EHJ>?DJ>?I7HJ?9B; 

     ->HEK=>EKJJ>;!;EH=?7B;9J?EDE:; J>;&;=?IB7JKH;9B;7HBO9EDJ;CFB7J;:

7 IJ7<<;: E<<?9; EH 8K?B:?D= <EH LEJ;H H;=?IJH7J?ED  H;9;?FJ E< 78I;DJ;; 87BBEJ

7FFB?97J?EDI 7D:H;9;?FJE<78I;DJ;;87BBEJIIEJ>7JJ>;LEJ;H97D:;B?L;HJ>;87BBEJ

?DF;HIEDEHJ>HEK=>J>;?H:;I?=D7J;:IJ7JKJEHO7=;DJ  !)  !  R   




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JE=7J>;HLEJ;I 0>;DJ>;O7H;KI;:J>;H;?I78H;7A?DJ>;9>7?DE<9KIJE:OE<J>EI;

7KJ>EH?P;: 8O IJ7JKJ; JE 9EBB;9J 7D: :;B?L;H 78I;DJ;; 87BBEJI  M>?9> FHE:K9;I

EFFEHJKD?J?;I <EH FEB?J?97B 79J?L?IJI JE IK8C?J <H7K:KB;DJ 78I;DJ;; 87BBEJI  7D: J>;

EFFEHJKD?JO<EH?BB?9?JLEJ;IJE8;9EKDJ;:?II?=D?<?97DJBO?D9H;7I;: 

    ->;8H;7A?DJ>;9>7?DE<9KIJE:O97KI;:8OJ>;KI;E<:HEF8EN;I?D9H;7I;I

J>; 9>7D9;I J>7J 7D 78I;DJ;; LEJ;H M?BB 97IJ >?I EH >;H LEJ; KD:;H J>; ?CFHEF;H

?D<BK;D9; E< 7DEJ>;H ?D:?L?:K7B 7D: ;D>7D9;I EFFEHJKD?J?;I <EH 87BBEJ J>;<J EH

IK8C?II?EDE<?BB?9?JBO=;D;H7J;:78I;DJ;;87BBEJI 

    ->; FHE9;:KH;I EKJB?D;: 78EL; :?BKJ; J>; *B7?DJ?<<ZI <KD:7C;DJ7B H?=>J JE

LEJ; JH;7JJ>;?HLEJ;?D7:?IF7H7J;C7DD;H7D:L?EB7J;J>;?H9EDIJ?JKJ?ED7BH?=>JIJE

GK7B *HEJ;9J?ED  K; *HE9;II 7D: J>; !K7H7DJ;; E< 7 +;FK8B?97D <EHC E<

!EL;HDC;DJKD:;HJ>;. , EDIJ?JKJ?ED 

    ;97KI;J>;EDIJ?JKJ?EDH;I;HL;I<EH,J7J;&;=?IB7JKH;IJ>;FEM;HJEI;JJ>;

J?C;I  FB79;I  7D: C7DD;H E< >EB:?D= <;:;H7B ;B;9J?EDI  IJ7J; ;N;9KJ?L; E<<?9;HI

79J?D= KD:;H 9EBEH E< B7M  B?A; ;<;D:7DJI ?D J>?I 97I;  >7L; DE 7KJ>EH?JO JE

KD?B7J;H7BBO;N;H9?I;J>7JFEM;H CK9>B;II<BEKJEH?=DEH;J>;B;9J?EDE:; 7IM7I

:ED;?DJ>?I97I; 

    !;EH=?7ZI&;=?IB7JKH;>7IDEJH7J?<?;:J>;78EL;C7J;H?7B9>7D=;IJEIJ7JKJEHO

B7MC7D:7J;:8OJ>;;<;D:7DJI 

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    ->; <EKHJ> KD9EDIJ?JKJ?ED7B FHE9;:KH; ?D J>?I 97I; ?DLEBL;I J>; KI; E<

    EC?D?ED

/EJ?D=,OIJ;CIEHFEH7J?EDZIWEC?D?EDXLEJ?D=C79>?D;I ?D9BK:?D=>7H:M7H;

7D: IE<JM7H;  ->;I; C79>?D;I 7H; KDH;B?78B;  9ECFHEC?I;:  FHE8B;C7J?9 7D:

IK8@;9JJEEKJI?:;C7D?FKB7J?EDE<LEJ?D=H;IKBJI ->;O7H;=E?D=JE8;KJ?B?P;:?D

9EDD;9J?EDM?J>J>;HKDE<<KDB;IIJ>?IEKHJ?DJ;HL;D;I W*B7?DJ?<<I7H;I;;A?D=H;B?;<

JE7::H;II7F7HJ?9KB7HLEJ?D=IOIJ;CM>?9> 7I9KHH;DJBO?CFB;C;DJ;: ?I7BB;=;:BO

H;9E=D?P;:ED7D7J?ED7BB;L;BJE8;KDI;9KH;7D:IKI9;FJ?8B;JEC7D?FKB7J?ED8O

7:L7D9;: F;HI?IJ;DJ J>H;7JI J>HEK=> D7J?ED IJ7J; EH DED IJ7J; 79JEHI X /,&#(! 0

'*  ,KFF :   (  !7  -EJ;D8;H= ->;;B;9J?ED

IE<JM7H;7D:>7H:M7H;<HECEC?D?EDKI;:8OJ>;;<;D:7DJI?IJ7?BEHC7:;<EH

<H7K:  ->; EC?D?ED IOIJ;CI :;H?L; <HEC J>; IE<JM7H; :;I?=D;: 8O ,C7HJC7J?9

EHFEH7J?ED 

     ,C7HJC7J?97D:EC?D?EDM;H;<EKD:;:8O<EH;?=DEB?=7H9>I7D::?9J7JEHI

JE;DIKH;9ECFKJ;H?P;:87BBEJ IJK<<?D=7D:LEJ;C7D?FKB7J?EDJEM>7J;L;HB;L;BM7I

D;;:;: JE C7A; 9;HJ7?D /;D;PK;B7D :?9J7JEH "K=E >7L;P D;L;H BEIJ 7DEJ>;H

;B;9J?ED (EJ78BO >7L;PWMEDX;L;HO;B;9J?EDJ>;H;7<J;H 



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     II;J<EHJ>?D7EC?D?ED0>?IJB;8BEM;H+;FEHJ J>;,C7HJC7J?9IE<JM7H;

M7I9EDJH?L;:J>HEK=>79H?C?D7B9EDIF?H79OJEC7D?FKB7J;/;D;PK;B7D;B;9J?EDI?D

<7LEHE<:?9J7JEH"K=E>7L;P

         #CFEHJ7DJBO #M7I7:?H;9JM?JD;IIJEJ>;9H;7J?ED7D:EF;H7J?EDE<7D
         ;B;9JHED?9LEJ?D=IOIJ;C?D79EDIF?H79O8;JM;;D79ECF7DOADEMD7I
         ,C7HJC7J?9 7D: J>; B;7:;HI E< 9EDIF?H79O M?J> J>; /;D;PK;B7D
         =EL;HDC;DJ  ->?I 9EDIF?H79O IF;9?<?97BBO ?DLEBL;: *H;I?:;DJ "K=E
         >7L;P H?7I J>;F;HIED?D9>7H=;E<J>;(7J?ED7BB;9JEH7BEKD9?B
         D7C;:$EH=;+E:H?=K;P 7D:FH?D9?F7BI H;FH;I;DJ7J?L;I 7D:F;HIEDD;B
         <HEC ,C7HJC7J?9  ->; FKHFEI; E< J>?I 9EDIF?H79O M7I JE 9H;7J; 7D:
         EF;H7J;7LEJ?D=IOIJ;CJ>7J9EKB:9>7D=;J>;LEJ;I?D;B;9J?EDI<HEC
         LEJ;I7=7?DIJF;HIEDIHKDD?D=J>;/;D;PK;B7D=EL;HDC;DJJELEJ;I?D
         J>;?H <7LEH ?D EH:;H JE C7?DJ7?D 9EDJHEB E< J>; =EL;HDC;DJ  #D C?:
           ;8HK7HO E<    J>;H; M7I 7 D7J?ED7B H;<;H;D:KC JE 9>7D=; J>;
         EDIJ?JKJ?ED E< /;D;PK;B7 JE ;D: J;HC B?C?JI <EH ;B;9J;: E<<?9?7BI 
         ?D9BK:?D= J>; *H;I?:;DJ E< /;D;PK;B7  ->; H;<;H;D:KC F7II;:  ->?I
         F;HC?JJ;:"K=E>7L;PJE8;H; ;B;9J;:7DKDB?C?J;:DKC8;HE<J?C;I 
            
         ,C7HJC7J?9ZI ;B;9JEH7B J;9>DEBE=O M7I 97BB;: W,?IJ;C7 :; !;IJ?QD
         B;9JEH7BX J>; WB;9JEH7B '7D7=;C;DJ ,OIJ;CX  ,C7HJC7J?9 M7I 7
         F?ED;;H?DJ>?I7H;7E<9ECFKJ?D=IOIJ;CI ->;?HIOIJ;CFHEL?:;:<EH
         JH7DIC?II?EDE<LEJ?D=:7J7EL;HJ>;?DJ;HD;JJE79ECFKJ;H?P;:9;DJH7B
         J78KB7J?D= 9;DJ;H  ->; LEJ?D= C79>?D;I J>;CI;BL;I >7: 7 :?=?J7B
         :?IFB7O <?D=;HFH?DJH;9E=D?J?ED<;7JKH;JE?:;DJ?<OJ>;LEJ;H 7D:FH?DJ;:
         EKJ J>; LEJ;HZI 87BBEJ  ->; LEJ;HZI J>KC8FH?DJ M7I B?DA;: JE 7
         9ECFKJ;H?P;: H;9EH: E< J>7J LEJ;HZI ?:;DJ?JO  ,C7HJC7J?9 9H;7J;: 7D:
         EF;H7J;:J>;;DJ?H;IOIJ;C 0>?IJB;8BEM;HH;FEHJSS  
     9EH;H;GK?H;C;DJE<J>;,C7HJC7J?9IE<JM7H;:;I?=DKBJ?C7J;BO7:EFJ;:8O

EC?D?ED<EH!;EH=?7ZI;B;9J?EDIM7IJ>;IE<JM7H;ZI78?B?JOJE>?:;?JIC7D?FKB7J?ED

E<LEJ;I<HEC7DO7K:?J IJ>;M>?IJB;8BEM;H;NFB7?DI


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        >7L;PM7ICEIJ?DI?IJ;DJJ>7J,C7HJC7J?9:;I?=DJ>;IOIJ;C?D7M7O
        J>7J J>; IOIJ;C 9EKB: 9>7D=; J>; LEJ; E< ;79> LEJ;H M?J>EKJ 8;?D=
        :;J;9J;: ";M7DJ;:J>;IE<JM7H;?JI;B<JE<KD9J?ED?DIK9>7C7DD;H
        J>7J ?< J>; LEJ;H M;H; JE FB79; J>;?H J>KC8 FH?DJ EH <?D=;HFH?DJ ED 7
        I97DD;H J>;DJ>;J>KC8FH?DJMEKB:8;J?;:JE7H;9EH:E<J>;LEJ;HZI
        D7C;7D:?:;DJ?JO7I>7L?D=LEJ;: 8KJJ>7JLEJ;HMEKB:DEJ8;JH79A;:
        JEJ>;9>7D=;:LEJ; ";C7:;?J9B;7HJ>7JJ>;IOIJ;CMEKB:>7L;JE8;
        I;JKFJEDEJB;7L;7DO;L?:;D9;E<J>;9>7D=;:LEJ;<EH7IF;9?<?9LEJ;H
        7D:J>7JJ>;H;MEKB:8;DE;L?:;D9;JEI>EM7D:DEJ>?D=JE9EDJH7:?9J
        J>7J J>; D7C; EH J>; <?D=;HFH?DJ EH J>KC8 FH?DJ M7I =E?D= M?J> 7
        9>7D=;:LEJ; ,C7HJC7J?97=H;;:JE9H;7J;IK9>7IOIJ;C7D:FHE:K9;:
        J>;IE<JM7H;7D:>7H:M7H;J>7J799ECFB?I>;:J>7JH;IKBJ<EH*H;I?:;DJ
        >7L;P S 
        
     ->; :;I?=D 7D: <;7JKH;I E< J>; EC?D?ED IE<JM7H; :E DEJ F;HC?J 7 I?CFB;

7K:?J JE H;L;7B ?JI C?I7BBE97J?ED  H;:?IJH?8KJ?ED  EH :;B;J?ED E< LEJ;I  ?HIJ  J>;

IOIJ;CI9;DJH7B799KCKB7JEH:E;IDEJ?D9BK:;7FHEJ;9J;:H;7B J?C;7K:?JBE=J>7J

C7?DJ7?DI J>; :7J; 7D: J?C; IJ7CFI E< 7BB I?=D?<?97DJ ;B;9J?ED ;L;DJI  %;O

9ECFED;DJI E< J>; IOIJ;C KJ?B?P; KDFHEJ;9J;: BE=I  II;DJ?7BBO J>?I 7BBEMI 7D

KD7KJ>EH?P;:KI;HJ>;EFFEHJKD?JOJE7H8?JH7H?BO7:: CE:?<O EHH;CEL;BE=;DJH?;I 

97KI?D= J>; C79>?D; JE BE= ;B;9J?ED ;L;DJI J>7J :E DEJ H;<B;9J 79JK7B LEJ?D=

J78KB7J?EDIVEHCEH;IF;9?<?97BBO :EDEJH;<B;9JJ>;79JK7BLEJ;IE<EHJ>;M?BBE<

J>;F;EFB; 

     #D:;;: KD:;HJ>;FHE<;II?ED7BIJ7D:7H:IM?J>?DJ>;?D:KIJHO?D7K:?J?D=7D:

<EH;DI?97D7BOI?I M>;D7BE=?IKDFHEJ;9J;: 7D:97D8;7BJ;H;: ?J97DDEBED=;H

I;HL;J>;FKHFEI;E<7D7K:?JBE= ->;H;?I?D9EDJHEL;HJ?8B;F>OI?97B;L?:;D9;J>7J

J>; IJ7D:7H:I E< F>OI?97B I;9KH?JO E< J>; LEJ?D= C79>?D;I 7D: J>; IE<JM7H; M;H;

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8H;79>;: 7D:C79>?D;IM;H;9EDD;9J;:JEJ>;?DJ;HD;J?DL?EB7J?EDE<FHE<;II?ED7B

IJ7D:7H:I M>?9>L?EB7J;I<;:;H7B;B;9J?EDB7MEDJ>;FH;I;HL7J?EDE<;L?:;D9; 

     #D :;9?:?D= JE 7M7H: EC?D?ED 7 CKBJ? C?BB?ED :EBB7H  BED= J;HC 9EDJH79J 

7D: J>;D 9;HJ?<O?D= EC?D?ED IE<JM7H;  !;EH=?7 E<<?9?7BI :?IH;=7H:;: 7BB J>;

9ED9;HDI J>7J 97KI;: EC?D?ED IE<JM7H; JE 8; H;@;9J;: 8O J>; -;N7I E7H: E<

;B;9J?EDI?D  8;97KI;?JM7I:;;C;:LKBD;H78B;JEKD:;J;9J;:7D:DED 7K:?J78B;

C7D?FKB7J?ED  D ?D:KIJHO ;NF;HJ  H  D:H;M FF;B  *H?D9;JED *HE<;IIEH E<

ECFKJ;H ,9?;D9; 7D: B;9J?ED ,;9KH?JO NF;HJ >7I H;9;DJBO E8I;HL;:  M?J>

H;<;H;D9; JE EC?D?ED /EJ?D= C79>?D;I # <?=KH;: EKJ >EM JE C7A; 7 IB?=>JBO

:?<<;H;DJ9ECFKJ;HFHE=H7CJ>7J@KIJ8;<EH;J>;FEBBIM;H;9BEI;: ?JIM?J9>;IIEC;

LEJ;I7HEKD:<HECED;97D:?:7J;JE7DEJ>;H #MHEJ;J>7J9ECFKJ;HFHE=H7C?DJE7

C;CEHO9>?F7D:DEMJE>79A7LEJ?D=C79>?D;OEK@KIJD;;:C?DKJ;I7BED;M?J>

?J7I9H;M:H?L;H 

     DEJ>;H;NF;HJ +KII;BB$7C;I+7CIB7D: $H >7I9ED9BK:;:J>7JEC?D?ED

7BED;M7IH;IFEDI?8B;<EHJ>;?D@;9J?ED EH<78H?97J?ED E< ?BB;=7BLEJ;I?D

'?9>?=7D 

     #D:;;:  7 <EH;DI?9 H;FEHJ :7J;: ;9;C8;H      8O BB?;: ,;9KH?JO

)F;H7J?EDI!HEKF7K:?J;:7D:J;IJ;:J>;?DJ;=H?JOE<J>;EC?D?ED/EJ?D=,OIJ;C

F;H<EHC7D9;?DDJH?CEKDJO '?9>?=7D7D:9ED9BK:;:J>7J

    WJ>;EC?D?ED/EJ?D=,OIJ;C?I?DJ;DJ?ED7BBO7D:FKHFEI;<KBBO:;I?=D;:
    M?J> ?D>;H;DJ ;HHEHI JE 9H;7J;: IOIJ;C?9 <H7K: 7D: ?D<BK;D9; ;B;9J?ED
                                        
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  H;IKBJI ->;IOIJ;C?DJ;DJ?ED7BBO=;D;H7J;I7D;DEHCEKIBO>?=>DKC8;HE<
  87BBEJ;HHEHI ->;;B;9JHED?987BBEJI7H;J>;DJH7DI<;HH;:<EH7:@K:?97J?ED 
  ->; ?DJ;DJ?ED7B ;HHEHI B;7: JE 8KBA 7:@K:?97J?ED E< 87BBEJI M?J> DE
  EL;HI?=>J DEJH7DIF7H;D9O 7D:DE7K:?JJH?7B ->?IB;7:IJELEJ;HEH;B;9J?ED
  <H7K: 7I;:EDEKHIJK:O M;9ED9BK:;J>7JJ>;EC?D?ED/EJ?D=,OIJ;C
  I>EKB:DEJ8;KI;:34 X
  
->;H;FEHJ<KHJ>;HIJ7J;:WM;9ED9BK:;J>7JJ>;;HHEHI7H;IEI?=D?<?97DJJ>7JJ>;O

97BB?DJEGK;IJ?EDJ>;?DJ;=H?JO7D:B;=?J?C79OE<J>;H;IKBJI?DJ>;DJH?CEKDJO

   ;B;9J?ED JE J>; FE?DJ J>7J J>; H;IKBJI 7H; DEJ 9;HJ?<?78B;  ;97KI; J>; I7C;

C79>?D;I7D:IE<JM7H;7H;KI;:?DEJ>;H9EKDJ?;I?D'?9>?=7D /%&. ./.!+0/

+*/%"&*/"$-&/4+#/%""*/&-""(" /&+*?DJ>;IJ7J;E<'?9>?=7D XCF>7I?I7::;: 

    ::?J?ED7BBO !7HB7D: 7LEH?JE 7D?D<EHC7J?EDJ;9>DEBE=OFHE<;II?ED7BM?J>

EL;H O;7HIZ;NF;H?;D9;>7IFH;I;DJ;:7IMEHD7<<?:7L?J:E9KC;DJ?D=J>EKI7D:I

E<LEJ;I8;?D=<B?FF;:<HEC*H;I?:;DJ-HKCFJEJ>;;CE9H7J?97D:?:7J;?DJ>;

(EL;C8;H   ;B;9J?ED ";>7I9ED9BK:;:W?J?ICEH;B?A;BOJ>7JLEJ; IM7FF?D=

C7BM7H;;N?IJ;:ED8EJ> J>;'?9>?=7D7D:!;EH=?7EKDJO;B;9J?EDC7D7=;C;DJ

I;HL;HI X D: ;NFB7?D;: J>; D;9;II?JO E< <EH;DI?9 ;N7C?D7J?ED E< J>; EC?D?ED

IOIJ;C ?D !;EH=?7   FH;II H;B;7I; :7J;: ,;FJ;C8;H      <HEC /EJ;H!7

H;FEHJ;:J>7JW,;9H;J7HOE<,J7J;,),-!##"*.,"-$"-&.(+ '&*$&/. ((.

#+- #+-"*.&  -",+-/. +# #0(/4 +)&*&+* 1+/&*$ .4./"). ?D E<<;; 7D: 07H;

9EKDJ?;I XCF>7I?I?DEH?=?D7B 

    ->;I;I7C;LEJ?D=C79>?D;I7D:IE<JM7H;7H;7D:M?BB8;?CFB;C;DJ;:<EH

KI;?DJ>;!;EH=?7. , ,;D7J;HKDE<<;B;9J?ED 78I;DJJ>?IEKHJZI?DJ;HL;DJ?ED 
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      (EJ78BO ->;"EDEH78B;?IJH?9JEKHJ$K:=;CO-EJ;D8;H=?IIK;:7

F7=;:;J7?B;:EH:;HED)9JE8;H   J>7J<EH;I>7:EM;:J>;:7D=;HIFH;I;DJ;:

8O!;EH=?7ZIKI;E<J>;I;C79>?D;I *7HJ?9KB7HBO I>;E8I;HL;:J>7JWJ>;IK8IJ7DJ?7B

H?IAI FEI;: 8O !;EH=?7ZI ' IOIJ;C  7J B;7IJ 7I 9KHH;DJBO 9ED<?=KH;: 7D:

?CFB;C;DJ;: 7H;;L?:;DJ X /,&#(!0 (-*,!,   0& 

(  !7 )9JE8;H    $K:=;-EJ;D8;H=M;DJEDJEE8I;HL;J>7J>;HW)H:;H

>7I:;BL;::;;F?DJEJ>;JHK;H?IAIFEI;:8OJ>;D;M'LEJ?D=IOIJ;C7IM;BB7I

?JI C7DD;H E< ?CFB7DJ7J?ED  %"." -&.'. -" *"&/%"- %4,+/%"/& ( *+- -")+/"

0*!"-/%" 0--"*/ &- 0)./* ".W#: 7J CF>7I?I7::;: 

      :EFJ?D=J>;*B7?DJ?<<ZI9O8;HI;9KH?JO;NF;HJZIJ;IJ?CEDO $K:=;-EJ;D8;H=

E8I;HL;: J>7J WJ>?I ?I DEJ 7 GK;IJ?ED E< YC?=>J J>?I 79JK7BBO ;L;H >7FF;DZ U 8KJ

YM>;D?JM?BB>7FF;D Z;IF;9?7BBO?<<KHJ>;HFHEJ;9J;:C;7IKH;I7H;DEJJ7A;D !?L;D

J>;C7IA?D=D7JKH;E<C7BM7H;7D:J>;9KHH;DJIOIJ;CI:;I9H?8;:>;H; ?<J>;IJ7J;

7D:EC?D?EDI?CFBOIJ7D:8O7D:I7O YM;>7L;D;L;HI;;D?J ZJ>;<KJKH;:E;IDEJ

8E:;M;BB X 

      -E 8; IKH;  J>; KI; E< J>; EC?D?ED LEJ?D= C79>?D;I ?I ADEMD JE >7L;

C7D?FKB7J;: J>; ;B;9J?ED H;IKBJI JE <7LEH ED; 97D:?:7J; EL;H 7DEJ>;H ?D

9EDJH7L;DJ?EDE<J>;;NFH;II;:M?BBE<J>;LEJ;HI ->;H;?I79JK7B>7HC?CC?D;DJJE

J>; *B7?DJ?<< 8;97KI; J>;I; LEJ?D= C79>?D;I 7H; 7D: M?BB 8; KI;: ?D J>; HKDE<< 

J>;H;8O:?BKJ?D=J>;*B7?DJ?<<ZILEJ; 

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      #D:;;: J>;>7?HC7DZIH;FEHJE<J>;;B;9J?EDB7MIJK:OIK89ECC?JJ;;E<J>;

,J7D:?D=,;D7J;$K:?9?7HOECC?JJ;;?IIK;:7H;FEHJ87I;:EDJ;IJ?CEDO<HEC7

>;7H?D=>;B:;9;C8;H   M>;H;?D?JM7I9ED9BK:;:J>7JJ>;W(EL;C8;H 

  =;D;H7B;B;9J?EDJ>;W;B;9J?EDXM7I9>7EJ?97D:7DOH;FEHJ;:H;IKBJICKIJ8;

L?;M;:7IKDJHKIJMEHJ>O X

    #CFEHJ7DJBO  J>; FH;I?:;DJ?7B 97D:?:7J;I M;H; I;F7H7J;: 8O EDBO

7FFHEN?C7J;BO           LEJ;I  ->; DKC8;H E< LEJ;I 7<<;9J;: 8O J>; 78EL;

9EDIJ?JKJ?ED7B L?EB7J?EDI ;N9;;:I J>; C7H=?D E< LEJ;I :?L?:?D= J>; FH;I?:;DJ?7B

97D:?:7J;I  ->;H; ?I 7D ?CC?D;DJ >7HC JE J>; *B7?DJ?<< ?D J>7J I7?: 9EDIJ?JKJ?ED7B

L?EB7J?EDIM?BBE99KH?DJ>;HKDE<<;B;9J?ED 

    *B7?DJ?<<I;;AI?D@KD9J?L;H;B?;<?D9BK:?D=;D@E?D?D=J>;HKDE<<;B;9J?ED<EHJ>;

JME .D?J;: ,J7J;I ,;D7J; I;7JI <HEC !;EH=?7 <HEC FHE9;;:?D= M>?B; J>;

KD9EDIJ?JKJ?ED7BFHE9;:KH;I:;I9H?8;:>;H;?D7H;?DFB79; 

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    ->;*B7?DJ?<<>;H;8O?D9EHFEH7J;I8OH;<;H;D9;J>;7BB;=7J?EDI?DF7H7=H7F>I

J>HEK=> 

     9?J?P;DZI H?=>J JE LEJ; ?D 7 ,J7J; ;B;9J?ED ?DLEBL?D= <;:;H7B 97D:?:7J;I ?I

H;9E=D?P;: 7I 7 <KD:7C;DJ7B H?=>J KD:;H J>; EKHJ;;DJ> C;D:C;DJ JE J>;

EDIJ?JKJ?ED  M>?9> FHE>?8?JI 7 ,J7J; <HEC :;DO?D= JE 7DO F;HIED M?J>?D ?JI

@KH?I:?9J?EDJ>;GK7B*HEJ;9J?EDE<J>;B7MI 

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    ->; GK7B *HEJ;9J?ED 9B7KI; FHE>?8?JI ,J7J;I <HEC 7H8?JH7HO 7D: :?IF7H7J;

JH;7JC;DJE<LEJ;HI ->KI ;79>9?J?P;D>7IJ>;9EDIJ?JKJ?ED7BH?=>JJEF7HJ?9?F7J;?D

;B;9J?EDI ?D9BK:?D=J>;HKDE<<FEHJ?EDE<7DO;B;9J?ED ED7D;GK7B87I?IM?J>EJ>;H

9?J?P;DI?D!;EH=?7 ->;,J7J;C7ODEJL7BK;ED;F;HIEDZILEJ;EL;HJ>7JE<7DEJ>;H 

-H;7J?D=LEJ;HI:?<<;H;DJBOL?EB7J;IJ>;H?=>JJEGK7B*HEJ;9J?ED 

    ;<;D:7DJIZ FHE9;:KH;I :;I9H?8;: 78EL; H;=7H:?D= C7?B ?D 78I;DJ;; 87BBEJ

LEJ;H?:;DJ?JOL;H?<?97J?ED ;7HBOEF;D?D=E<78I;DJ;;87BBEJI:;B?L;HOE<78I;DJ;;

87BBEJI ?BB;=7B:HEF8EN;I 7D:J>;KI;E<EC?D?EDLEJ?D=C79>?D;I>7L;J>;;<<;9J

E< :?BKJ?D= J>; *B7?DJ?<<ZI LEJ;  ->?I >7FF;D;: ?D 9EDD;9J?ED M?J> J>;   

*H;I?:;DJ?7B B;9J?ED  7D: KDB;II J>; EKHJ ?DJ;HL;D;I ?J ?I 7D: M?BB E99KH ?D J>;

HKDE<< 

      I7H;IKBJE<J>;;<;D:7DJIZKD7KJ>EH?P;:79J?EDI7D::?IF7H7J;JH;7JC;DJ

E< *B7?DJ?<<ZI LEJ;  J>?I EKHJ I>EKB: ;DJ;H 7D EH:;H :;9B7H7J?ED KD:;H  . ,  

RR 77D: 7D: EH?D@KD9J?EDJ>7JFHE>?8?JI;<;D:7DJI<HECKJ?B?P?D=?D

J>; HKDE<< ;B;9J?ED J>; KD9EDIJ?JKJ?ED7B FHE9;:KH;I I;J <EHJ> 78EL;  ;<;D:7DJI

79J?EDIM?BB:?C?D?I>7D::?BKJ;J>;M;?=>JE<J>;B7M<KBLEJ;I97IJ;:?DJ>;HKDE<<

;B;9J?ED ?D9BK:?D=*B7?DJ?<< 

      *B7?DJ?<<>7IDE7:;GK7J;H;C;:O7JB7M7D:M?BBIK<<;HI;H?EKI7D:?HH;F7H78B;

>7HCKDB;IIJ>;H;B?;<H;GK;IJ;:>;H;?D?I=H7DJ;: 




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      ->;*B7?DJ?<<>7I>7:JE;D=7=;J>;KD:;HI?=D;:B7M<?HCJEH;FH;I;DJ>?C?D

J>?I79J?ED7D:?IE8B?=7J;:JEF7OI7C;7H;7IED78B;<;; 

    0"+ )+  <EH J>; <EH;=E?D= H;7IEDI  J>; *B7?DJ?<< :;C7D:I 7D EH:;H 

FH;B?C?D7HO7D:F;HC7D;DJ?D@KD9J?ED 7D::;9B7H7JEHO@K:=C;DJ?DJ>;?H<7LEH7D:

7=7?DIJ;<;D:7DJI:;9B7H?D=J>7JJ>7J  ,;D7JEH?7BHKDE<<;B;9J?EDFHE9;:KH;I

E< J>; ;<;D:7DJI L?EB7J; *B7?DJ?<<ZI 9EDIJ?JKJ?ED7B H?=>J JE ;GK7B FHEJ;9J?ED

;D@E?D?D=J>;KI;E<I7?:KD9EDIJ?JKJ?ED7BFHE9;:KH;I?DJ>;HKDE<<:;9B7H?D=J>;

HKDE<<;B;9J?EDFHE9;:KH;I:;I9H?8;:>;H;?D:;<;9J?L;7D:H;GK?H?D=;<;D:7DJIJE

9KH;J>;?HL?EB7J?ED7M7H:?D=DEC?D7B:7C7=;I?<7FFB?978B;=H7DJ?D=IK9>EJ>;H

H;B?;<7IJ>;EKHJ:;;CI@KIJ7D:FHEF;H7D:7M7H:?D=*B7?DJ?<<ZI7JJEHD;OZI<;;I

7D:9EIJI 

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      ->;*B7?DJ?<<>;H;8O?D9EHFEH7J;I8OH;<;H;D9;J>;7BB;=7J?EDI?DF7H7=H7F>I

J>HEK=> 

     ->;FHE9;:KH;IKJ?B?P;:?DJ>;HKDE<<;B;9J?EDL?EB7J;J>;*B7?DJ?<<ZIH?=>JJE

:K;FHE9;II ->;78HE=7J?EDE<J>;78I;DJ;;87BBEJI?=D7JKH;L;H?<?97J?EDIJ7JKJ; E<

J>; H;GK?H;C;DJ J>7J 78I;DJ;; 87BBEJI DEJ 8; EF;D;: 8;<EH; ;B;9J?ED :7O  J>;

?DIJ7BB7J?ED E< KD7KJ>EH?P;: 87BBEJ :HEF 8EN;I  7D: J>; KI; E< J>; 9ECFHEC?I;:

EC?D?ED LEJ?D= C79>?D;I  M>;D 9EDI?:;H;: I?D=KB7HBO 7D: 9;HJ7?DBO M>;D

9EDI?:;H;: 9EBB;9J?L;BO  H;D:;H J>; ;B;9J?ED FHE9;:KH; <EHJ>;HKDE<< IE :;<;9J?L;


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7D: KDB7M<KB 7I JE 9EDIJ?JKJ; 7 L?EB7J?ED E< FHE9;:KH7B :K; FHE9;II KD:;H J>;

    EKHJ;;DJ>C;D:C;DJJEJ>;EDIJ?JKJ?ED 

      ->;.D?J;:,J7J;I,KFH;C;EKHJ7D:EJ>;H<;:;H7B9EKHJI>7L;H;F;7J;:BO

H;9E=D?P;:J>7JM>;D;B;9J?EDFH79J?9;IH;79>J>;FE?DJE<F7J;DJ7D:<KD:7C;DJ7B

KD<7?HD;II  J>; ?DJ;=H?JO E< J>; ;B;9J?ED ?JI;B< L?EB7J;I *B7?DJ?<<ZI IK8IJ7DJ?L; :K;

FHE9;IIH?=>JI 

      ->;;<;D:7DJIKD9EDIJ?JKJ?ED7BHKB;C7A?D=:?I9KII;:78EL;H;FH;I;DJI7D

?DJ;DJ?ED7B <7?BKH; JE <EBBEM ;B;9J?ED B7M 7I ;D79J;: 8O J>; !;EH=?7 &;=?IB7JKH; 

->;I;KD7KJ>EH?P;:79JIL?EB7J;*B7?DJ?<<ZIFHE9;:KH7B:K;FHE9;IIH?=>JI 

      *B7?DJ?<<>7IDE7:;GK7J;H;C;:O7JB7M7D:M?BBIK<<;HI;H?EKI7D:?HH;F7H78B;

>7HCKDB;IIJ>;H;B?;<H;GK;IJ;:>;H;?D?I=H7DJ;: 

      ->;*B7?DJ?<<>7I>7:JE;D=7=;J>;KD:;HI?=D;:B7M<?HCJEH;FH;I;DJJ>;C

?DJ>?I79J?ED7D:7H;E8B?=7J;:JEF7OI7C;7H;7IED78B;<;; 

     0"+ )+  <EH J>; <EH;=E?D= H;7IEDI  J>; *B7?DJ?<< :;C7D:I 7D EH:;H 

FH;B?C?D7HO7D:F;HC7D;DJ?D@KD9J?ED 7D::;9B7H7JEHO@K:=C;DJ?DJ>;?H<7LEH7D:

7=7?DIJ;<;D:7DJI:;9B7H?D=J>7JJ>7J  ,;D7JEH?7BHKDE<<;B;9J?EDFHE9;:KH;I

E<J>;;<;D:7DJIL?EB7J;*B7?DJ?<<ZI9EDIJ?JKJ?ED7BH?=>JJE:K;FHE9;II;D@E?D?D=

J>; KI; E< I7?: KD9EDIJ?JKJ?ED7B FHE9;:KH;I ?D J>; HKDE<< :;9B7H?D= J>; HKDE<<

;B;9J?ED FHE9;:KH;I :;I9H?8;: >;H;?D :;<;9J?L; 7D: H;GK?H?D= ;<;D:7DJI JE 9KH;

J>;?HL?EB7J?ED7M7H:?D=DEC?D7B:7C7=;I?<7FFB?978B;=H7DJ?D=IK9>EJ>;HH;B?;<

                                           
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7I J>; EKHJ :;;CI @KIJ 7D: FHEF;H 7D: 7M7H:?D= *B7?DJ?<<I 7JJEHD;OZI <;;I 7D:

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     ->;*B7?DJ?<<>;H;8O?D9EHFEH7J;I8OH;<;H;D9;J>;7BB;=7J?EDI?DF7H7=H7F>I

J>HEK=> 

      HJ?9B;#/ ,;9J?EDE<J>;. , EDIJ?JKJ?EDFHEL?:;IJ>7JWJ>;.D?J;:,J7J;I

I>7BB=K7H7DJ;;JE;L;HO,J7J;?DJ>?I.D?ED7+;FK8B?97D EHCE<!EL;HDC;DJ X

W!K7H7DJ;;B7KI;X

      ->?IEKHJ7D:EJ>;H<;:;H7B9EKHJI7H;?DIJ?JKJ?EDIE<J>;.D?J;:,J7J;IJ>7J

7H;9EDIJ?JKJ?ED7BBO9ECF;BB;:JE;D<EH9;J>;!K7H7DJ;;B7KI; 

      ->; ;<;D:7DJIZ ?CFB;C;DJ7J?ED E< J>; 78EL; KD7KJ>EH?P;: +KB;I :?H;9JBO

9ED<B?9J M?J> J>; !;EH=?7 B;9J?ED E:; 8KJ 7D ;B;9J?ED IOIJ;C J>7J :E;I DEJ

FHEL?:;<EHJ>;9;HJ7?DJOE<7<H;;7D:<7?H;B;9J?ED?IDEJFHEL?:?D=7:;CE9H7J?9EH

H;FK8B?97D <EHC E< =EL;HDC;DJ   #D:;;:  M>;D ,J7J; 79J?ED  B?A; J>; ;<;D:7DJI

79J?EDI?DJ>?I97I; 97KI;I;B;9J?ED<H7K: BEII7D: EH:?BKJ?EDE<J>;<KD:7C;DJ7B

H?=>J JE LEJ;  *B7?DJ?<<ZI 9ECFB7?DJ ?I ;B;L7J;: ?DJE 7 !K7H7DJ;; B7KI; 9B7?C 

C7D:7J?D= @K:?9?7B FHEJ;9J?ED E< J>; H?=>J JE LEJ;  ->; ,KFH;C; EKHJ >7I

H;9E=D?P;:J>7JJ>;H?=>JJELEJ;?I?D>;H;DJ?DJ>;H;FK8B?97D<EHCE<=EL;HDC;DJ

;DL?I?ED;:8OJ>;!K7H7DJ;;B7KI; 



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